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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION

 DREW ABBE,                                    §
                                               §
        Plaintiff,                             §
 vs.                                           §                 1:17-CV-00507
                                               §                 Civil Action No.
 STATE AUTO PROPERTY &                         §
 CASUALTY INSURANCE COMPANY,                   §
                                               §
       §Defendant.                             §


                      PLAINTIFF’S FIRST AMENDED COMPLAINT

TO THE HONORABLE JUDGE SAM SPARKS:

       Drew Abbe (“Mr. Abbe”), Plaintiff herein, files this First Amended Complaint against

Defendant State Auto Property & Casualty Insurance Company (“State Auto”) and, in support of

his causes of action, would respectfully show the Court the following:

                                             I.
                                        THE PARTIES

       1.      Drew Abbe is a Texas resident who resides in Williamson County, Texas.

       2.      State Auto is an insurance company doing business in the State of Texas which may

be served through its registered agent for service of process in the State of Texas, Corporation

Service Company, via certified mail at 211 East 7th Street, Suite 620, Austin, TX 78701-3218.

                                          II.
                                 FACTUAL BACKGROUND

       3.      Mr. Abbe is a named insured under a property insurance policy issued by State

Auto covering at least three policy periods from November 22, 2015 through November 22, 2016

(“Period 1”) and from November 22, 2016 through November 22, 2016 (“Period 2”). Mr. Abbe

has been the named insured with a policy from Defendant State Auto since at least 2013.


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       4.      On or about Decenber 30, 2016, Mr. Abbe noticed shingles were on the ground

around his home and discovered that the roof on his home had been damaged by a storm event. He

subsequently called in a claim to State Auto. On or about January 10, 2017, State Auto’s adjuster

inspected Mr. Abbe’s house and other property.

       5.      Notably, State Auto arbitrarily assigned December 30, 2016 as the date of loss.

However, State Auto’s claim file acknowledges this date is indeed not the date of loss, but is “based

on when he was advised of damages.” On this arbitrarily assigned date of loss, “Period 2” had been

effective for roughly five weeks.

       6.      State Auto failed to investigate for any damages that might have occurred during

Period 1. State Auto had a duty to investigate these damages as well. However, State Auto used

the date that Mr. Abbe became aware of the damage (December 30, 2016), as a pretext to skirt any

coverage that might be afforded for losses occurring during Period 1, noting in its claim file “The

insured carries HO3 form. Review of the form provides coverage for hail damages found, however

within the policy period of when the damages occurred. Review of weather reports show no

significant hail in the area within the insurable time farm for this reporting date or policy period.”

Simply put, State Auto arbitrarily assigned December 30, 2016 as the date of loss (even know it

knew this was simply the date Mr. Abbe became aware of his damages), and then adjusted the

claim as if Mr. Abbe merely had seven weeks of coverage spanning November 22, 2016 to January

10, 2016—the date of State Auto’s inspection.

       7.      Defendant conducted an unreasonable and outcome-oriented investigation when it

knowingly shielding itself from any coverage under Period 1. Mr. Abbe’s property exhibit open

and obvious indicators of wind and hail damage. Period 1 provided coverage for hail events.

During Period 1, more than one hail event struck the property, including May 14, 2016 and March
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9, 2016. However, State Auto misrepresented that the hail had been caused by an event on March

19, 2013, and was simply “old.”

       8.        Mr. Abbe’s roof exhibited signs of recent wind damage that required full

replacement of his roof. Defendant acknowledged this wind damage as “minimum” and

“repairable.” Yet, State Auto misrepresented that the vast majority of Mr. Abbe’s roof was due to

wear and tear.

       9.        Defendant improperly denied and/or underpaid the claim.

       10.       The adjuster assigned to the claim conducted a substandard investigation and

inspection of the property, prepared a report that failed to include all of the damages that were

observed during the inspection, and undervalued the damages observed during the inspection by

assigning an arbitrary and self-serving date of loss and misrepresenting that the roof showed signs

of wear and tear.

       11.       This unreasonable investigation led to the underpayment of Plaintiff’s claim.

       12.       Moreover, State Auto performed an outcome-oriented investigation of Plaintiff’s

claim, which resulted in a biased, unfair and inequitable evaluation of Plaintiff’s losses on the

property.

                                             III.
                                      CAUSES OF ACTION

       13.       Each of the foregoing paragraphs is incorporated by reference in the following:

A.     Breach of Contract

       14.       State Auto had a contract of insurance with Plaintiff. State Auto breached the terms

of that contract by wrongfully denying and/or underpaying the claim and Plaintiff was damaged

thereby.
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B.     Prompt Payment of Claims Statute

       15.     The failure of State Auto to pay for the losses and/or to follow the statutory time

guidelines for accepting or denying coverage constitutes a violation of Section 542.051 et seq. of

the Texas Insurance Code.

       16.     Plaintiff, therefore, in addition to Plaintiff’s claim for damages, is entitled to 18%

interest and attorneys’ fees as set forth in Section 542.060 of the Texas Insurance Code.

C.     Bad Faith/Deceptive Trade Practices Act (“DTPA”)

       17.     Defendant is required to comply with Chapter 541 of the Texas Insurance Code.

       18.     Defendant violated Section 541.051 of the Texas Insurance Code by:

               (1)    making statements misrepresenting the terms and/or benefits of the policy.

       19.     Defendant violated Section 541.060 by:

               (1)    misrepresenting to Plaintiff a material fact or policy provision relating to

                      coverage at issue;

               (2)    failing to attempt in good faith to effectuate a prompt, fair, and equitable

                      settlement of a claim with respect to which the insurer’s liability had

                      become reasonably clear;

               (3)    failing to promptly provide to Plaintiff a reasonable explanation of the basis

                      in the policy, in relation to the facts or applicable law, for the insurer’s

                      denial of a claim or offer of a compromise settlement of a claim;

               (4)    failing within a reasonable time to affirm or deny coverage of a claim to

                      Plaintiff or submit a reservation of rights to Plaintiff; and

               (5)    refusing to pay the claim without conducting a reasonable investigation with

                      respect to the claim;
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       20.    Defendant violated Section 541.061 by:

              (1)    making an untrue statement of material fact;

              (2)    failing to state a material fact necessary to make other statements made not

                     misleading considering the circumstances under which the statements were

                     made;

              (3)    making a statement in a manner that would mislead a reasonably prudent

                     person to a false conclusion of a material fact;

              (4)    making a material misstatement of law; and

              (5)    failing to disclose a matter required by law to be disclosed.

       21.    At all material times hereto, Plaintiff was a consumer who purchased insurance

products and services from Defendant.

       22.    Defendant has violated the Texas DTPA in the following respects:

              (1)    Defendant represented that the agreement confers or involves rights,

                     remedies, or obligations which it does not have, or involve, or which are

                     prohibited by law;

              (2)    State Auto failed to disclose information concerning goods or services

                     which was known at the time of the transaction when such failure to disclose

                     such information was intended to induce the consumer into a transaction

                     that the consumer would not have entered into had the information been

                     disclosed;

              (3)    State Auto, by accepting insurance premiums but refusing without a

                     reasonable basis to pay benefits due and owing, engaged in an

                     unconscionable action or course of action as prohibited by Section
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                       17.50(a)(1)(3) of the DTPA in that State Auto took advantage of Plaintiff’s

                       lack of knowledge, ability, experience, and capacity to a grossly unfair

                       degree, that also resulted in a gross disparity between the consideration paid

                       in the transaction and the value received, in violation of Chapter 541 of the

                       Texas Insurance Code.

       23.     Defendant knowingly committed the acts complained of. As such, Plaintiff is

entitled to exemplary and/or treble damages pursuant to the DTPA and Texas Insurance Code

Section 541.152(a)-(b).

D.     Attorneys’ Fees

       24.     Plaintiff engaged the undersigned attorney to prosecute this lawsuit against

Defendant and agreed to pay reasonable attorneys’ fees and expenses through trial and any appeal.

       25.     Plaintiff is entitled to reasonable and necessary attorney’s fees pursuant to Texas

Civil Practice and Remedies Code Sections 38.001-38.003 because he is represented by an

attorney, presented the claim to Defendant, and Defendant did not tender the just amount owed

before the expiration of the 30th day after the claim was presented.

       26.     Plaintiff further prays that he be awarded all reasonable attorneys’ fees incurred in

prosecuting his causes of action through trial and any appeal pursuant to Sections 541.152 and

542.060 of the Texas Insurance Code.

                                          IV.
                                 CONDITIONS PRECEDENT

       27.     All conditions precedent to Plaintiff’s right to recover have been fully performed,

or have been waived by Defendant.
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                                               V.
                                             PRAYER

        WHEREFORE, PREMISES CONSIDERED, Drew Abbe prays that, upon final hearing of

the case, he recover all damages from and against Defendant that may reasonably be established

by a preponderance of the evidence, and that Mr. Abbe be awarded attorneys’ fees through trial

and appeal, costs of court, pre-judgment interest, post-judgment interest, and such other and further

relief, general or special, at law or in equity, to which Mr. Abbe may show himself to be justly

entitled.



                                              Respectfully submitted,

                                              DALY & BLACK, P.C.

                                              By:     /s/ James Winston Willis
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                                                      ATTORNEYS FOR PLAINTIFF
                                                      DREW ABBE
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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing has been served on Defendant’s
counsel of record via electronic means and in accordance with the Federal Rules of Civil Procedure
on November 8, 2017.

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                                                     /s/ James Winston Willis
                                                     James W. Willis



                             CERTIFICATE OF CONFERENCE


I hereby certify that on November 8, 2017, I conferred with counsel for State Auto Property &
Casualty Insurance Company, Mr. Sterling Elza. Mr. Elza indicated he is not opposed to the
foregoing motion.


                                                     /s/ James Winston Willis
                                                     James W. Willis
